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EXHIBIT 3

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

IN RE: TFT-LCD (FLAT PANEL) No, 3:07-md-1827-S1
ANTITRUST LITIGATION

No. 3: 10-cv-04572 SI
This Document Relates to Individual
Case No. 3: 10-cv-04572 SI

BEST BUY CO. INC., et al., . DEFENDANTS?’ REPLY IN SUPPORT
OF JOINT MOTION FOR PARTIAL
Plaintiff, SUMMARY JUDGMENT DISMISSING
BEST BUY’S (1) PRE-OCTOBER 8,
v. 2006 CLAIMS AS TIME BARRED AND
(2) POST-MAY 2003 CLAIMS FOR
AU OPTRONICS CORPORATION, ef al.; FAILURE TO MITIGATE DAMAGES
Defendants. Date: December 14, 2012

Time: 9:00 a.m.
Ctrm.: 10, 19th Floor
Hon. Susan Illston

Ders. REPLY ISO JOINT MOTION FoR SUMM. JUDG. DISM.
BEST Buy’s CLAIMS AS TIME BARRED AND For FAILURE

TO MITIGATE — NO. 3:10-CVv-4572 SI; No. 07-MD-1827 SI

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I. INTRODUCTION.

Although it is undisputed that Best Buy received and repeated in multiple internal
communications specific information that a “panel cartel” was “conspiring to keep supply down
to drive prices up,” Best Buy remarkably asserts that it did not “have any evidence” of a price-
fixing conspiracy until the Department of Justice’s disclosure of its investigation in December
2006. See Best Buy’s Opposition to Defendants’ Joint Motion For Partial Summary Judgment
Dismissing Best Buy’s (1) Pre-October 8, 2006 Claims As Time Barred And (2) Post-May 2003
Claims For Failure To Mitigate Damages (‘“‘Opp.’’) at 4. Of course, Best Buy “had evidence.” It
received a specific communication from a known source about the existence of a “panel cartel,”
and the disclosure was accompanied by evidence of the impact of the cartel on Best Buy’s
business. The evidence Best Buy received was of sufficient importance that it was recorded in a
report to Best Buy regional vice presidents in 2003, and remembered or retained well enough to’
be recorded again in a similar document two years later. The evidence was more than sufficient
to put Best Buy on notice of the existence of the specific injury of which it has belatedly
complained in its complaint, and to trigger Best Buy’s duty to make an investigation it did not
make.

Best Buy offers a series of inaccurate perspectives on the situation it faced when it was
told by one of its major suppliers in May 2003 that the activities of a “panel cartel” had curtailed
the supply of laptops available to Best Buy. Best Buy tries to dismiss the specific evidence
provided to it by portraying the evidence as “unsupported,” Opp. at 1, or “unsubstantiated.” Jd. at
15. Ifthe point is that the existence of a “panel cartel” was not proved by the Toshiba America
Information Systems (“TAIS”) disclosure, Best Buy misunderstands the governing legal standard.
A plaintiffs obligation to exercise diligence arises long before it receives complete
“substantiation” of its claim. The law requires nothing more than facts that would “excite the
inquiry of a reasonable person,” and Best Buy received facts of that character. See Conmar Corp.
v. Mitsui & Co. (U.S.A.), Inc., 858 F.2d 499, 502 (9th Cir. 1988).

Best Buy attempts to overcome the impact of the information provided by its supplier by

describing the reference to a “panel cartel” with a specific anticompetitive purpose and an impact

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on Best Buy as “speculative.” There is nothing in the words recorded in the Best Buy documents
suggesting that the TAIS disclosure was based on speculation, and no basis for the description of
the disclosure as “speculative.” Had Best Buy inquired as it should have, it would have learned
of the basis for TAIS’s depiction of a “panel cartel,” and it cannot use the absence of a more
detailed contemporaneous record that is the result of its failure to inquire as a basis for describing
the specific information it was provided as “speculative.” The information provided by TATS
ended up matching the allegations made by the government and many private parties, including
Best Buy. Best Buy’s assertion that TATS was “speculating” is itself speculation, and it is not
sufficient to avoid Best Buy’s duty to investigate and its duty to mitigate damages.

In a similar spirit, Best Buy asserts that the disclosure by TAIS was “pasted, verbatim,
from the initial memo” when it was recorded in two separate Best Buy business strategy
documents two years apart. Opp. at 1.’ If the disclosure had been “pasted, verbatim,” it would
still have been received, read, understood, and relied on, and verbatim pasting would not lessen
the significance of the disclosure for statute of limitations purposes, or absolve Best Buy of its
duty to mitigate damages. The information about the “panel cartel” was recorded by Best Buy’s
Mr. Winneroski as one of the “specific conclusions from the [Best Buy/TAIS] meeting” or “key
comments that would be helpful” for the recipients of Mr. Winneroski’s memorandum “to
understand, to have an understanding of the meeting.” Freitas Decl., Ex. 2 (Winneroski Dep. at
58:23 to 59:12). It was just as important when it was recorded two weeks later, in slightly
different language, in a “RVP Monthly Briefing,” and again, two years later, also in slightly
different language from the original. See Defendants’ Joint Motion For Partial Summary
Judgment Dismissing Best Buy’s (1) Pre-October 8, 2006 Claims As Time Barred and (2) Post-
May 2003 Claims For Failure To Mitigate Damages (“Mot.”) at 6.

In another attempt to make the disclosure of a “panel cartel” go away, Best Buy calls the
disclosure a “single” communication and claims that the reference to the panel cartel appears in

“a grand total of three Best Buy documents.” Opp. at 1. There is no volume or quantity

' Best Buy’s claim of “verbatim” pasting is exaggerated. Compare Freitas Decl., Ex. 1 at BBYLCD0035889 with
id., Ex. 3 at BBYLCD0083159 and id., Ex. 4 at BBYLCD000853 1.

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requirement applicable to the disclosure of information sufficient to put a plaintiff on notice of the
existence of a claim. If information received by a claimant is sufficient to “excite the inquiry of a
reasonable person,” Conmar, 858 F.2d at 502, the plaintiff must investigate, and it will be
charged with knowledge of everything it would have learned in the exercise of due diligence. See
id. (“[a]ny fact that should excite his suspicion is the same as actual knowledge of his entire
claim”).

Nor does it matter that the disclosure of a panel cartel was not repeated in subsequent
meetings with TATS, Best Buy cannot be excused of its duty to investigate simply because one
possible manifestation of the cartel activity — a failure by TAIS to meet Best Buy’s needs at a
specific time for a specific group of products — was apparently no longer a problem.

Best Buy’s depiction of the reference to the panel cartel as an “excuse” is similarly
unavailing. Best Buy did nothing to investigate whether TAIS was offering an “excuse.” When a
supplier explains its failure to deliver by blaming the failure on the existence of a conspiracy
among an identifiable group of suppliers, the reasonable response is to ask what the supplier is
going to do to address the illegal activity that is disrupting its relationship with Best Buy, not to
label the explanation “an excuse” and move on. Turning a blind eye to the disclosure of the
existence of a “panel cartel” on the assumption or belief that TAIS was offering an “excuse” is
the antithesis of the diligence required of one presented with information sufficient to “excite the
inquiry of a reasonable person.” Best Buy’s failure to inquire about the basis for the mention of a
panel cartel, or about TAIS’s response to the existence of the cartel, is far more relevant than its
assertion that it thought TATS was offering an “excuse.”

None of Best Buy’s efforts to change the nature, or downplay the significance, of the
disclosure of the existence of a “panel cartel” succeeds, and none of Best Buy’s legal arguments

provides any reason for the denial of defendants’ motion.

Il. BEST BUY’S PRE-OCTOBER 8, 2006 CLAIMS ARE BARRED BY THE
STATUTE OF LIMITATIONS.

A. Best Buy Does Not Deny That It Was Told Of The Existence Of A “Panel
Cartel” No Later Than May 2003.

The controlling facts presented in defendants’ motion are not disputed by Best Buy. Best

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Buy admits that Mr. Winneroski was told by TAIS of the existence of a “panel cartel,” and it
cannot counter the documentary evidence showing that the information about the existence,
purpose, and effect of the “panel cartel” was communicated to multiple Best Buy officers and

other supervisors, and repeated in internal analyses.

B. The Information Provided To Best Buy Was Sufficient To Arouse The
Suspicion Of A Reasonable Party In The Position Of Best Buy, And To
Trigger A Duty To Investigate.

Although it does not deny that it was specifically told of the existence of a “panel cartel,”
Best Buy argues that it lacked “actual knowledge” of the existence of a price fixing conspiracy.
What Best Buy appears to mean is that it did not have all of the evidence it has today, or
otherwise did not have certain types of evidentiary details establishing the existence of a “panel
cartel.” No case cited by Best Buy supports the idea that a specific disclosure of the existence of
a “panel cartel” accompanied by a statement that the activities of the “panel cartel” are the cause
of harm to the plaintiff is not sufficient to establish “actual knowledge” of the existence of
wrongdoing.

A conclusion that, despite the specific information it was provided, Best Buy did not have
“actual knowledge” would not be sufficient to defeat the defendants’ motion because a plaintiff
seeking to invoke fraudulent concealment as a basis for tolling is required to prove that it lacked
both actual and constructive knowledge of the facts giving rise to its claim. E.g., Hexcel Corp. v.
Jneos Polymers, Inc., 681 F.3d 1055, 1060 (9th Cir. 2012); Conmar, 858 F.2d at 502 (to establish
fraudulent concealment a plaintiff must prove that it “had neither actual nor constructive
knowledge of the facts giving rise to its claim despite its diligence in trying to uncover those
facts.”), There is no requirement that a plaintiff be aware of all of the facts that would establish
its claim, See Advanced Micro Devices, Inc. v. Intel Corp., 1992 U.S. Dist. LEXIS 21529 *5-6
(N.D. Cal. July 24, 1992),

Best Buy acknowledges that constructive notice is sufficient to defeat a claim of
fraudulent concealment, and it agrees that constructive notice exists “when a plaintiff ‘should
have been alerted to facts that, following duly diligent inquiry, could have advised it of its

claim.” Opp. at 11 (quoting Conmar, 858 F.2d at 502). See also id. (quoting In re Rubber

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Chems. Antitrust Litig., 504 F. Supp. 2d 777, 788 (N.D. Cal. 2007)). All that is required, as Best
Buy concedes, is that “[f]acts must first exist to excite the inquiry of a reasonable person.” Jd.
When that is the case, there is no reason to consider the existence or extent of the plaintiff's
“actual knowledge.” As Conmar states, “[a]ny fact that should excite his suspicion is the same as
actual knowledge of his entire claim.” 858 F.2d at 502 (quoting Dayco Corp. v. Goodyear Tire &
Rubber Co., 523 F.2d 389, 394 (6th Cir.1975)).

While the sufficiency of the evidence to “excite the inquiry of a reasonable person” may
present a factual question in some situations, that is not the case here. A reasonable person told
of the existence of a “panel cartel” that was “conspiring to keep supply down to drive prices up”
would, as a matter of law, have his or her inquiry “excited,” even if the activities of the “panel
cartel” were not identified as the specific cause of harm. The impact of the evidence ona
reasonable person would not be countered by any of the matters asserted by Best Buy.

Best Buy received a specific statement about the existence of a cartel and a specific
statement about the nature of its activities. The information was credibly tied to a specific impact
in the marketplace that was impacting Best Buy’s business. To excite the inquiry of a reasonable
person, it was not essential that the information about the cartel be supported by affidavits or
documents such as the minutes of Crystal Meetings provided to Dell, or that Mr. Winneroski of
Best Buy be as prolific as Mr. Korman of Dell in repeating what he was told. The question is
simply whether the information was sufficient to excite the inquiry of a reasonable plaintiff in the
position of Best Buy, and that is unquestionably the case.

The other arguments made by Best Buy similarly fail to raise a genuine issue on the
question of whether the inquiry of a reasonable plaintiff in the position of Best Buy would have
been “excited.” As discussed above, it does not matter that there was but a “single” disclosure of
the existence of the “panel cartel.” Repetition of the fact that a cartel was “conspiring to keep
supply down to drive prices up” (beyond the repetition in the Best Buy documents) would have
added nothing critical on the question of notice. Once was enough.

Nor is it necessary to hold a trial on the question of whether a reasonable person would

have been moved to inquire further because Best Buy calls the assertion of the existence of a

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“cartel” speculative. Best Buy was told there was a cartel, it was told the cartel specifically
involved the panel makers, it was told that the cartel members were “conspiring to keep supply
down to drive prices up,” and it was told that the activities of the cartel had impacted Best Buy.
No speculation appears in these statements that Best Buy admittedly received, understood, and
repeated.

Even if it were correct to portray the information provided by TAIS as “speculative,” Best
Buy would not prevail. The law imposes a duty to act when a plaintiff is aware of information
that would “excite the inquiry of a reasonable person.” There is no requirement that the
information be fully substantiated, that it come from a source with direct personal knowledge, or
even that it be true.

Finally, Best Buy’s protestations about what was not in the disclosure of the existence of a
“panel cartel” whose activities had harmed Best Buy are not sufficient to erase the disclosure, or
to eliminate Best Buy’s duty of diligence. A plaintiff cannot avoid responsibility for a failure to
discover information it could have discovered in the exercise of reasonable diligence by claiming
it was not given the information when the duty to investigate was triggered.

Cc, Best Buy’s Attempt To Create A “Rumor” Exception Fails.

Best Buy seeks to avoid the specific disclosure of a “panel cartel” by claiming that “mere
rumors are insufficient to trigger a duty to investigate,” Opp. at 1, but it cites no cases addressing
“rumors,” and does not explain why it would be appropriate to dismiss a specific report by a
major supplier of the existence of a “panel cartel” as a “rumor.” There is no reason to believe that
TAIS presented the information about the “panel cartel” as a “rumor.”

Best Buy similarly attempts to initiate a debate as to whether mere “suspicions” are
sufficient to overcome a claim of fraudulent concealment. See Opp. at 12. The “suspicions”
issue is a red herring. It is settled that “[w]here a plaintiff's suspicions have been or should have
been excited, there can be no fraudulent concealment where he ‘could have then confirmed his
earlier suspicion by a diligent pursuit’ of further information.” Conmar, 858 F.2d at 504 (citing
Rutledge v. Boston Woven Hose & Rubber Co., 576 F.2d 248, 250 (9th Cir.1978)). The evidence

that is relevant here does not involve a mere “suspicion.” Instead, there was a specific statement

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from a credible source that there is a “panel cartel” that is controlling price and supply, and
evidence of the impact of the cartel’s efforts. The information provided to Best Buy was
sufficient to arouse suspicion requiring a further inquiry.

D. Best Buy Failed To Make A Diligent Inquiry.

While Best Buy appears to deny that the information about the existence, activities, and
impact of the “panel cartel” was sufficient to “excite its inquiry,” Best Buy also contends that it
conducted an investigation of the existence of the cartel.

In order to invoke fraudulent concealment as a basis for avoiding the statute of limitations,
Best Buy must prove that it lacked both actual and constructive knowledge of the relevant facts,
despite the exercise of diligence in trying to discover the facts. Hexcel, 681 F.3d at 1060. As the
Supreme Court stated in Klehr v. A.O. Smith Corp., 521 U.S. 179, 182 (1997), “a plaintiff may
not rely upon ‘fraudulent concealment’ unless he has been reasonably diligent in trying to
discover his cause of action.” See id. at 194 (“a plaintiff who is not reasonably diligent may not
assert ‘fraudulent concealment.’”); id. at 194-95 (“in the related antitrust context, where the
‘fraudulent concealment’ doctrine is invoked fairly often, relevant authority uniformly supports
the requirement [of reasonable diligence].”). Best Buy contends that it investigated the
information it received from TAIS, but the evidence confirms that is not the case. As the
defendants demonstrated in their moving papers, Mot. at 8, Best Buy did nothing at all to
investigate the existence of a “panel cartel.”

¢ Best Buy did not ask TAIS about the basis for TAIS’s assertion of the existence of
a panel cartel or how it knew the cartel was “conspiring to keep supply down to
drive prices up.”

e Best Buy did not ask TAIS where it received the information about the existence
of a “panel cartel.”

e Best Buy did not ask TAIS which panel makers were involved in the “panel
cartel.”

¢ Best Buy claims that it considered the reference by TAIS to the existence of a

“panel cartel” to be an “excuse,” but Best Buy did not ask TAIS for confirmation

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of the kind of supply constraints that could have (a) resulted from the actions
described by TAIS and (b) produced the impact on Best Buy claimed by TAIS.

« Best Buy did not ask whether TAIS had reported the “panel cartel” to the
authorities,

e Although it was the apparent victim of conspiracy-based supply shortages, Best
Buy did not contact the authorities itself,

e There is no indication that Best Buy employees who received the information from
TAIS or their colleagues advised the Best Buy legal department or outside counsel.

e Best Buy did not ask TATS what it was doing to cause an end to the activities of
the “panel cartel.”

¢ Best Buy did not consult any third parties about the potential existence of a “panel
cartel.”

¢ Best Buy did nothing else to determine whether a “panel cartel” existed.

As a substitute for these steps, Best Buy claims that it investigated “component shortages
and supply chain problems through at least August, 2003.” Opp. at 17. But that is not an answer
to its failure to take reasonable steps to investigate the existence of a “panel cartel.” The
defendants’ motion is not based on the simple fact that Best Buy was told there were “component
shortages” or “supply chain problems.” Best Buy was given specific information about the
existence of a “panel cartel,” and it was told that the purpose of the cartel was “to keep supply
down to drive prices up.” The existence and activities of the cartel were what Best Buy failed to

investigate. That Best Buy did not experience ongoing disruption, and then lost interest, does not

justify its failure to act.

E. Best Buy Did Not Plead Government Action, American Pipe, Or Cross-
Jurisdictional Tolling.

Best Buy does not respond to the defendants’ argument that Best Buy pleaded only
fraudulent concealment as a basis for tolling by claiming that its complaint included specific
invocation of additional tolling theories. Best Buy claims that it alleged facts consistent with the

assertion of other tolling theories, but it does not claim that the theories can be found in its

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operative complaint. The point is not that the complaint “does not articulate the word [sic]
“American Pipe,” Opp. at 21, but that it does not invoke American Pipe tolling. Simply
describing oneself as a direct purchaser is not sufficient to do so. Without specific allegations,
the defendants cannot know what Best Buy contends with respect to (a) the complaints that
triggered American Pipe tolling and (b) the defendants against which American Pipe tolling is
alleged. See, e.g., In re TFT-LCD (Flat Panel) Antitrust Litig. (“AT&T”), MDL Dkt. No. 4706 at
3 (N.D. Cal. Jan. 30, 2012) (governmental action). Even in its memorandum in opposition to
defendants’ motion, Best Buy does not provide sufficient information, merely stating that the
complaint shows it “was a member of the DP class,” and offering comparable comments on other
unpleaded theories. Opp. at 20.

Best Buy asserts that Wasco Prods., Inc. v. Southwall Techs., Inc., 435 F.3d 989 (9th Cir.
2006) stands for nothing more than a requirement that Rule 9(b) must be satisfied when the object
of a conspiracy is fraudulent. The cases cited by Wasco are not so limited, and neither are this
Court’s prior rulings. The Wasco court noted that “federal courts have repeatedly held that
plaintiffs seeking to toll the statute of limitations on various grounds must have included the
allegation in their pleadings.” Jd. at 991 (emphasis added). The cases cited in Wasco include
“various grounds,” including some not governed by Rule 9(b). Jd. Nothing in Wasco suggests an
intention to ignore the non-fraud cases cited in the Ninth Circuit’s approving discussion of the
case law.

Best Buy’s request in its opposition brief that it be allowed to amend its complaint comes
far too late in the day. Best Buy has had ample time to consider its tolling theories, and to
evaluate the appropriateness of an amendment under the Court’s prior orders. Having taken no
action until long after the close of fact discovery and the filing of defendants’ motion, Best Buy is
in no position to ask that it be allowed to change the theory of its tolling case when confronted

with the inadequacy of the only theory it pleaded.

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I. BEST BUY FAILED TO MITIGATE ITS DAMAGES.

A. A Price Fixing Plaintiff, Like Any Other Plaintiff, Has A Duty To Mitigate
Damages.

While Best Buy bristles at the suggestion that it made a decision to refrain from attempts
to mitigate its damages to allow treble damages to accumulate, Best Buy claims a right to do just
that. Best Buy argues that horizontal price fixing cases are special or unique in the law with
respect to the existence of a duty to mitigate damages, but it fails to establish any rule precluding
a mitigation defense in a horizontal price fixing case. The mitigation principle is a fundamental
and generally applicable rule of law, see, e.g., ABA Section of Antitrust Law, Model Jury
instructions in Civil Antitrust Cases, F-47 (2005 ed.), and Best Buy cites no convincing authority
suggesting that a price fixing plaintiff is allowed to recover for harm it reasonably could have
avoided. Indeed, allowing a price fixing plaintiff to sit on the sidelines while damages to it and
others continue — what the mitigation defense is designed to avoid ~ would be even less
appropriate than allowing similar behavior in other areas, given that antitrust damages are trebled.
See Mot. at 18-19.

Best Buy first claims that [//inois Brick and other cases involving pass-on issues contain
or support a rule precluding a mitigation defense in price fixing cases. As the defendants
explained in their moving papers, “[n]othing in ///inois Brick created a special rule regarding
mitigation in horizontal price-fixing cases, or even addressed the concept of mitigation.” Mot. at
17. Illinois Brick, Hanover Shoe, and the other pass-on cases address an “analytically distinct
issue.” See id. at 17-18.

Best Buy also searches for a limitation of the mitigation defense in cases that have
addressed the defense. For example, Best Buy claims that Fishman v. Estate of Wirtz, 807 F.2d
520 (7th Cir. 1996) “expressly limit[ed] the mitigation of damages defense to failure to deal
cases, and even then only ‘under the unique facts here.’” Opp. at 22. That is not what the
Fishman court said. Responding to the facts of the case, the Seventh Circuit expressed agreement
“with both the defendants and the district court that, under facts like the ones in this case, antitrust

damages may be offset by a figure that accounts for the fact that the plaintiffs actually had use of

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money that, but for the violation, would have been tied up in the lost business opportunity. This
figure can be labeled the ‘plaintiffs’ opportunity cost’ in the context of this case.” 807 F.2d at
556. “Under facts like the ones in” Fishman, antitrust damages may be offset by opportunity cost
evidence.

There was no effort to limit the mitigation principle to facts like the Fishman facts, or toa
narrow class of cases. To the contrary, the court recognized mitigation as a generally available
defense, and found the opportunity cost theory viable because, “[u]nder the unique facts here, . . .
this ‘plaintiffs’ opportunity cost’ is, for all practical purposes, equivalent to mitigation, and we
agree that the tort rules regarding mitigation of damages can have their place in the law of
antitrust.” Jd. at 556-57 (footnote omitted).

Best Buy tries to minimize Litton Systems, Inc. v. Am. Tel & Tel. Co., 700 F.2d 785 (2d
Cir. 1983), in which it is stated without limitation that “[a]n antitrust plaintiff has a duty to
mitigate damages,” id. at 820 n.47, by describing it as a case involving “exclusion from the
marketplace,” but the Second Circuit said nothing supporting the idea that the mitigation principle
is restricted to cases involving “exclusion from the marketplace.” Best Buy takes a different
approach in connection with Pierce v. Ramsey Winch Co., 753 F.2d 416 (5th Cir. 1985),
describing the specific type of mitigation required under the facts of the case, but it does not
explain how the application of mitigation principles in a section | case involving resale price
maintenance and termination of a price cutting dealer is indicative of a restriction of the
mitigation defense to a certain class of cases.

One of the //linois Brick-based cases cited by Best Buy, Jn re Airline Ticket Comm’n
Litig., 918 F. Supp. 283 (D, Minn. 1996), acknowledges that, “in general, an antitrust plaintiff has
a duty to mitigate or offset its damages,” based on “the facts of each case.” Airline Ticket also
says that “[i]n a horizontal price-fixing case, however, mitigation and offset generally do not
affect the ultimate measure of damages,” id., citing only I/linois Brick, and likely referring only to
the unavailability of pass on as a defense to direct claims. If the court meant to exclude
mitigation as a defense in all federal horizontal price fixing cases when it said that “mitigation

and offset generally do not affect the ultimate measure of damages” in a horizontal price fixing

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case, it erred.

B. Best Buy Does Not Justify Its Failure To Contact The Authorities When
Advised Of The Existence Of A “Panel Cartel.”

Best Buy suggests that there is doubt as to whether it had sufficient knowledge “such that
it could have immediately contacted the Department of Justice” when it was told that the
conspiratorial activities of a “panel cartel” were contributing to product or component shortages.
Opp. at 1. There is no doubt, and no genuine issue of material fact, on this score.

First, Best Buy does not deny that contacting the authorities when advised that one is a
victim of a crime is “a reasonable and appropriate way to mitigate damages,” a concept on which
the MCI v. AT&T jury was instructed. See Mot. at 20. Second, while it suggests a deficit of some
kind, Best Buy does not identify a legal or policy threshold for complaints of price fixing to the
Antitrust Division, and there is none. As defendants pointed out in their moving papers, Best Buy
could have made an anonymous complaint, and there are no formalities for such complaints. See
id.

Best Buy was in possession of information sufficient to trigger its duty to mitigate
damages no later than May 2003, and it could have avoided any post-May 2003 harm by making
a report to the Antitrust Division or a state attorney general. Because Best Buy failed to take the
simple, inexpensive step of reporting the violation disclosed to it by TAIS, the defendants are
entitled to summary judgment on their mitigation defenses as to all damages incurred after May

2003.

C. Application Of A Mitigation Requirement Would Not “Abrogate The Statute
Of Limitations.”

Unable credibly to deny the existence of a mitigation defense in horizontal price fixing
cases, Best Buy resorts to an illogical argument that application of the mitigation principle would
“abrogate the statute of limitations.” Opp. at 23-24. That is no more true under the antitrust laws
or in a horizontal price fixing case than it is with respect to any of the multitude of claims in
numerous areas of law that are subject to a rule forbidding the recovery of damages the plaintiff

reasonably could have avoided.

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Best Buy makes a basic error, confusing past damages, the recovery of which is governed
by the statute of limitations, and future damages, which cannot be recovered if they can
reasonably be avoided. When the victim of a violation of the Sherman Act that has been
fraudulently concealed obtains actual or constructive knowledge of the existence of its claim, the
limitations period begins to run with respect to damages that have been incurred. Independent of
the running of the limitations period with respect to past damages, the actual or constructive
knowledge obtained by the plaintiff may trigger a duty to mitigate future damages. When the
plaintiff has it within its power to avoid further damages, it has a duty to do so, and it “may not
recover damages for any portion of its injuries that it could have avoided through the exercise of
reasonable care and prudence.” ABA Section of Antitrust Law, Model Jury Instructions in Civil
Antitrust Cases at F-47 (2005 ed.).

In a given case, the plaintiff's duty to mitigate damages might require that it file suit.
When that is the case, there is no impact on the application of the statute of limitations to past

damages.

D. Best Buy Was Aware Of Information Sufficient To Impose A Duty To
Mitigate.

Best Buy tries to escape the responsibility to mitigate by claiming that it was not “aware”
of facts giving rise to a duty to mitigate, but this argument is largely a repackaging of Best Buy’s
other attempts to downplay the significance of the information it received from TAIS. Best Buy
also makes a legal argument suggesting the need for a type of “knowledge” beyond that supported
by the case law.

Home Indem. Co. v. Lane Powell Moss & Miller, 43 F.3d 1322 (9th Cir. 1995), a legal
malpractice case decided under Alaska law, does not place the bar as high as Best Buy suggests.
As Best Buy notes, the Ninth Circuit observed that “[t[he duty to mitigate damages does not arise
until the party upon whom the duty is impressed is aware of facts making the duty to mitigate
necessary.” Jd. at 1329. The court did not, however, say that the duty “arises only where a party
‘actually discover[s] the damage done to [it].’” Opp. at 24.

In Home, an insurance company sued its former law firm as a result of the firm’s alleged

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failure to communicate a policy limits settlement offer to the plaintiffs in the underlying
litigation. The Ninth Circuit did not say that “a party” never has a duty to mitigate until the party
“actually discover[s] the damage done to [it],” but it did say, in the sentence modified by Best
Buy, that “Home had no duty to mitigate until it actually discovered the damage done to it by
Lane Powell.” Jd. at 1330. What the court meant was that because Home did not know the
policy limits offer was not communicated, it was not aware of a reason it should accept the
plaintiffs’ later settlement demand to avoid liability for an excess judgment. The point was
simply that “Home was not aware of circumstances creating a duty to mitigate damages at the
time of the plaintiffs’ settlement offer.” Jd. Best Buy was specifically aware of such
circumstances when it was told that the activities of the “panel cartel” had caused or contributed
to a shortage of the goods it expected to receive from TAIS.”

As the Ninth Circuit said in Home, a party “aware of circumstances creating a duty to
mitigate damages” must act. When Best Buy was told that its inventory requirements were not
being met because of the activities of a “panel cartel” that was “conspiring to keep supply down
to drive prices up,” it was aware of such circumstances. Best Buy’s failure to mitigate requires

that the defendants’ motion be granted with respect to all post-May 2003 damages.

E. There Is Nothing “Ridiculous” About Applying The Established Mitigation
Doctrine In A Manner Suited To The Facts Of A Case.

Best Buy attempts to mock the defendants’ argument that it could have filed suit or
contacted the Department of Justice, by associating the defendants’ argument with a case in
which a court described a defendant’s suggestion that the duty to mitigate required the pursuit of
injunctive relief as “ridiculous.” Opp. at 24-25. The argument portrayed as “ridiculous” in one of
the cases cited by Best Buy has been adopted in other cases. See Mot. at 22-23.

In Al’s Serv. Ctr. v. BP Prods. N. Am., Inc., 599 F.3d 720, 777 (7th Cir. 2010), Judge

Posner suggested that a plaintiff might have lost a state law breach of contract claim as a result of

* Lopez v. Musinorte Entm't Corp., 434 Fed. Appx. 696 (9th Cir. 2011), cites the same passage from Home, but does
not support the rule advocated by Best Buy. The court held that the plaintiff's cause of action did not accrue, i¢., the
plaintiff did not know, and, in the exercise of reasonable diligence, should not have known, the facts underlying his
claim, until he was officially expelled from a band. Jd. at 698. Until he was expelled from the band, there was no
occasion for to plaintiff to mitigate the harm caused by his expulsion.

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its failure to mitigate by seeking an injunction. In Miller v. Perry Corp., Inv. No. 3:05-cv-7545,
2007 U.S. Dist. LEXIS 28399, at *13-15 (N.D. Ohio Apr. 17, 2007), the court specifically relied
on a failure to seek injunctive relief in finding a failure to mitigate. See also Probst v. Reno, 917
F, Supp. 554, 562 (N.D. IIL. 1995) (“Also in 1994, he mitigated his compensatory damages by
taking the appropriate lawful action of filing this lawsuit.”).

There is nothing ridiculous about applying the longstanding mitigation principle to
preclude the recovery of damages that could have been avoided had Best Buy taken commercially
reasonable steps to prevent the harm for which it now seeks recovery. It is undisputed that in
2006, the Antitrust Division initiated an investigation of the facts called to Best Buy’s attention in
2003. Best Buy cannot label “ridiculous” the idea that the Division would have done the same
had Best Buy reported what it learned in May 2003.

IV. CONCLUSION.

Best Buy was on notice of the existence of a “panel cartel” no later than May 2003. Best
Buy’s knowledge and subsequent lack of diligence preclude reliance on fraudulent concealment
as a basis for tolling the statute of limitations. Best Buy’s failure to act in the face of knowledge
of the existence of the “panel cartel” requires that it be barred from recovering any damages

incurred after May 2003. For these reasons, the defendants’ motion should be granted.
Dated: September 14, 2012 FREITAS TSENG & KAUFMAN, LLP

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